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                                                                 Amberlea Davis
                                                             1
                                                                 Nevada Bar Number: 11551
                                                             2   Law Offices of Amberlea Davis
                                                                 415 S. Sixth St, Ste 300
                                                             3   Las Vegas, NV 89101
                                                                 Phone: (702) 440-8000
                                                             4
                                                                 Email: Amber@SheIsMyLawyer.com
                                                             5   Proposed Attorney for Debtor

                                                             6
                                                             7
                                                                                           UNITED STATES BANKRUPTCY COURT
                                                             8
                                                                                                   DISTRICT NEVADA
                                                             9
                                                            10   IN RE: SCHULTE PROPERTIES, LLC                      CASE: 17-12883-mkn
LAW OFFICES OF AMBERLEA DAVIS




                                                            11
                                                                                   DEBTOR                            CHAPTER 11
                                Telephone: 702.518-4377
                                Las Vegas, Nevada 89101
                                 416 S. 6th St., Ste. 300




                                                            12
                                                                                                                     Hearing Date: August 30, 2017
                                                            13
                                                                                                                     Hearing Time: 9:30 am
                                                            14                                                       Estimated Time for Hearing: 15

                                                            15
                                                            16    MOTION TO ASSUME UNEXPIRED LEASE BETWEEN SCHULTE PROPERTIES
                                                                 LLC AND TENANTS FOR RESIDENTIAL PROPERTY AT 9020 FEATHER RIVER CT,
                                                            17            LAS VEGAS NV 89117-2367 PURSUANT TO 11 U.S. CODE § 365
                                                            18                  NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
                                                            19
                                                                        Pursuant to LR 9014.1, the court will consider this motion, objection, or other matter
                                                            20   without further notice of hearing unless a party in interest files an objection within twenty-one
                                                                 (21) days from the date of service of this paper. If you object to the relief requested in this paper,
                                                            21   you may file your objection at the bankruptcy clerk’s office located in Las Vegas at the United
                                                            22   States Bankruptcy Court, 300 Las Vegas Blvd. South, Las Vegas, Nevada 89101, and serve a
                                                                 copy on the movant's attorney and any other appropriate persons.
                                                            23
                                                                 The objecting party has a duty to timely set the objection for a hearing and properly notice
                                                            24   all parties in interest. If you do not file an objection within the time permitted, then:
                                                            25        • The court may refuse to allow you to speak at the scheduled hearing; and
                                                                      • The court may rule against you without formally calling the matter at the hearing;
                                                            26            and
                                                            27        • An order granting the requested relief may be entered by the court without further
                                                                          notice or hearing.
                                                            28


                                                                 Motion to Accept Lease                                                                FEATR
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                                                             1
                                                                     TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:
                                                             2
                                                                     Debtor, Schulte Properties LLC, moves this court for an order authorizing debtor to assume
                                                             3
                                                                 the unexpired lease between Melani Schulte and tenants, JAMES CRAIG. As grounds for the
                                                             4
                                                             5   assumption, Debtor states:

                                                             6       1. This case was commenced on May 31, 2017 by a voluntary petition for relief under
                                                             7
                                                                          chapter 11 of title 11 of the United States Code.
                                                             8
                                                                     2. Schulte Properties LLC is the debtor in possession.
                                                             9
                                                            10       3. Melani Schulte is the sole member of Schulte Properties LLC. Melani Schulte is the prior
LAW OFFICES OF AMBERLEA DAVIS




                                                            11            owner and Schulte Properties LLC is the current owner of the property located at 9020
                                Telephone: 702.518-4377
                                Las Vegas, Nevada 89101
                                 416 S. 6th St., Ste. 300




                                                            12            FEATHER RIVER CT, LAS VEGAS NV 89117-2367 (“the Subject Property”). The
                                                            13
                                                                          tenants, JAMES CRAIG, signed a lease with Melani Schulte which should be assigned to
                                                            14
                                                                          Schulte Properties LLC as the current property owner.
                                                            15
                                                            16       4. No prior motion for acceptance of this lease has been filed and no plan has been

                                                            17            confirmed.
                                                            18
                                                                     5. The Subject Property is a single family residence with 1538 square feet of livable space,
                                                            19
                                                                          3/2 bedrooms / bathrooms, 1 stories and no pool.
                                                            20
                                                                     6. Pursuant to 11 U.S.C. section 365, debtor asks the Court to accept the lease between the
                                                            21
                                                            22            tenants, JAMES CRAIG, and Melani Schulte as between Schulte Properties LLC and the

                                                            23            tenants. The terms of the lease are as follows:
                                                            24
                                                                              a. The lease expires on Month to Month.
                                                            25
                                                                              b. The gross rent is $1,400.00.
                                                            26
                                                            27       7. The assumption of the lease is in the best interest of the estate.

                                                            28


                                                                 Motion to Accept Lease                                                                FEATR
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                                                                      8. A copy of the unexpired lease is available upon request and has already been provided to
                                                             1
                                                             2            the Office of the US Trustee.

                                                             3                                           Applicable Legal Standards
                                                             4
                                                                          Section 365 governs the treatment of executory contracts and unexpired leases. Subject
                                                             5
                                                                 to bankruptcy court approval, a debtor-in-possession may assume or reject an executory contract
                                                             6
                                                             7   or unexpired lease of the debtor. See 11 U.S.C. § 365(a).8 Moreover, the trustee may assume or

                                                             8   reject an unexpired lease of residential real property at any time before the confirmation of the
                                                             9   plan. See 11 U.S.C. § 365(d)(2).
                                                            10
LAW OFFICES OF AMBERLEA DAVIS




                                                                          In this case, a plan has not yet been confirmed and the court has jurisdiction to approve
                                                            11
                                                                 the assumption of the unexpired lease.
                                Telephone: 702.518-4377
                                Las Vegas, Nevada 89101
                                 416 S. 6th St., Ste. 300




                                                            12
                                                            13                                                      Conclusion

                                                            14            WHEREFORE, debtor prays for an order from the Court authorizing and approving the
                                                            15   assumption of the unexpired lease between Schulte Properties LLC and JAMES CRAIG as being
                                                            16
                                                                 in the best interest of the estate.
                                                            17
                                                            18
                                                            19            Dated: 26 July 2017

                                                            20
                                                            21
                                                                                                                               ___________________
                                                            22                                                                 AMBERLEA DAVIS
                                                                                                                               Proposed Counsel for Debtor
                                                            23
                                                                                                                               NV Bar #11551
                                                            24
                                                            25
                                                            26
                                                            27   8
                                                                   While Section 365 refers to the rights and obligations of a bankruptcy trustee, a Chapter 11 debtor-in-possession
                                                            28   has the same rights and obligations, with exceptions not applicable to this case, under Section 1107(a).



                                                                 Motion to Accept Lease                                                                             FEATR
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                                                                 Amberlea Davis
                                                             1
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                                                             5   Proposed Attorney for Debtor

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                                                                                          UNITED STATES BANKRUPTCY COURT
                                                             8
                                                                                                  DISTRICT NEVADA
                                                             9
                                                            10   IN RE: SCHULTE PROPERTIES, LLC                   CASE: 17-12883-mkn
LAW OFFICES OF AMBERLEA DAVIS




                                                            11
                                                                                   DEBTOR                         CHAPTER 11
                                Telephone: 702.518-4377
                                Las Vegas, Nevada 89101
                                 416 S. 6th St., Ste. 300




                                                            12
                                                                                                                  Hearing Date: August 30, 2017
                                                            13
                                                                                                                  Hearing Time: 9:30 am
                                                            14                                                    Estimated Time for Hearing: 15

                                                            15
                                                            16                                    Certificate of Service

                                                            17   On July 26, 2017, I served the above documents listed as
                                                            18       •    Motion to Assume Unexpired Lease between Schulte Properties LLC and
                                                            19            Tenants for Residential Property at 9020 FEATHER RIVER CT, LAS VEGAS
                                                                          NV 89117-2367 Pursuant to 11 U.S.C § 365; and
                                                            20       •    Notice of Hearing on Motion and Opportunity to Object
                                                            21
                                                                 were served by the following means to on the persons listed below:
                                                            22
                                                                     1. Via ECF System:
                                                            23
                                                                          Amberlea Davis on behalf of Debtor Schulte Properties LLC,
                                                            24
                                                                          amber@sheismylawyer.com
                                                            25       2. By United States Mail, First Class Postage Prepaid:
                                                            26
                                                            27       •    AJA CAMPBELL, LESSOR, 3729                          NORTH LAS VEGAS NV 89031-
                                                                          DISCOVERY CREEK AVE,                                3603
                                                            28


                                                                 Motion to Accept Lease                                                            FEATR
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                                                             1       •    ALEXANDRA REIMANN,                      •   LUIS LOPEZ, LESSOR, 2614
                                                                          LESSOR, 3383 CLOVERDALE CT,                 SWEET LEILANI AVE, NORTH
                                                             2            LAS VEGAS NV 89117-3951                     LAS VEGAS NV 89031-0693
                                                                     •    BILLY OBEDOZA, LESSOR, 5218             •   MARIA LOPEZ, LESSOR, 2614
                                                             3            MISTY MORNING DR, LAS                       SWEET LEILANI AVE, NORTH
                                                             4            VEGAS NV 89118-0600                         LAS VEGAS NV 89031-0693
                                                                     •    BRENDA TORRES LOPEZ,                    •   MARY WIRTA, LESSOR, 2460
                                                             5            LESSOR, 9500 ASPEN GLOW DR,                 AVENIDA CORTES,
                                                                          LAS VEGAS NV 89134-0134                     HENDERSON NV 89074-6349
                                                             6
                                                                     •    CHRIS WIRTA, LESSOR, 2460               •   MELANI SCHULTE, 9811 W
                                                             7            AVENIDA CORTES,                             CHARLESTON BLVD STE 2-351,
                                                                          HENDERSON NV 89074-6349                     LAS VEGAS NV 89117-7528
                                                             8       •    CHRISTOPHER MARTANO, 1392               •   MICHAELA MARTANO, LESSOR,
                                                             9            ECHO FALLS AVE, LAS VEGAS                   1392 ECHO FALLS AVE, LAS
                                                                          NV 89183-6377                               VEGAS NV 89183-6377
                                                            10       •    CLINT FISHER, LESSOR, 956               •   MONICA MONTERO, LESSOR,
LAW OFFICES OF AMBERLEA DAVIS




                                                                          OSTRICH FERN CT, LAS VEGAS                  9500 ASPEN GLOW DR, LAS
                                                            11            NV 89183-4050                               VEGAS NV 89134-0134
                                Telephone: 702.518-4377
                                Las Vegas, Nevada 89101




                                                                          DULCE B. SOLIZ, LESSOR, 6091                NETTIE JOHNSTON, LESSOR,
                                 416 S. 6th St., Ste. 300




                                                            12       •                                            •
                                                                          PUMPKIN PATCH AVE, LAS                      2290 SURREY MEADOWS AVE,
                                                            13            VEGAS NV 89142-0791                         HENDERSON NV 89052-2335
                                                            14       •    GREGORY L. WILDE, ESQ.,                 •   ROBERT LOPEZ, LESSOR, 1528
                                                                          TIFFANCY AND BOSCO, 212 S                   SPLINTER ROCK WAY, NORTH
                                                            15            JONES BLVD, LAS VEGAS NV                    LAS VEGAS NV 89031-1617
                                                                          89107-2657                              •   ROSANNA LOPEZ, LESSOR, 1528
                                                            16       •    JAMES CRAIG, LESSOR, 9020                   SPLINTER ROCK WAY, NORTH
                                                            17            FEATHER RIVER CT, LAS                       LAS VEGAS NV 89031-1617
                                                                          VEGAS NV 89117-2367                     •   SANDRA SCHAFER, LESSOR,
                                                            18       •    JESSIE C. GAYTAN, LESSOR,                   3383 CLOVERDALE CT, LAS
                                                                          6091 PUMPKIN PATCH AVE, LAS                 VEGAS NV 89117-3951
                                                            19
                                                                          VEGAS NV 89142-0791                     •   SHAUNA BROGAN, LESSOR,
                                                            20       •    JURIS ORE, LESSOR, 2290                     1624 DESERT CANYON CT, LAS
                                                                          SURREY MEADOWS AVE,                         VEGAS NV 89128-7900
                                                            21            HENDERSON NV 89052-2335                 •   BAC HOME LOAN SERVICING,
                                                            22       •    KAMI CONSELVA, LESSOR, 5218                 LP, PO BOX 942019, SIMI
                                                                          MISTY MORNING DR, LAS                       VALLEY CA 93094-2019
                                                            23            VEGAS NV 89118-0600                     •   BAYVIEW LOAN SERVICING,
                                                                     •    KAREN TAYLOR, LESSOR, 3729                  LLC, 4425 PONCE DE LEON
                                                            24            DISCOVERY CREEK AVE,                        BLVD FL 5, CORAL GABLES FL
                                                            25            NORTH LAS VEGAS NV 89031-                   33146-1837
                                                                          3603                                    •   CHASE HOME FINANCE, LLC,
                                                            26       •    LINDA REINA, LESSOR, 7873                   3415 VISION DR, COLUMBUS OH
                                                                          BRIDGEFIELD LN, LAS VEGAS                   43219-6009
                                                            27
                                                                          NV 89147-5099
                                                            28


                                                                 Motion to Accept Lease                                                  FEATR
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                                                             1       •    CITIMORTGAGE, INC, PO BOX               •   FIRST AMERICAN TRUSTEE
                                                                          10002, HAGERSTOWN MD 21747-                 SERVICING SOLUTIO, 1500
                                                             2            0002                                        SOLANA BLVD STE 6100 BLDG
                                                                     •    CITY NATIONAL BANK, PO BOX                  6, WESTLAKE TX 76262-1709
                                                             3            60938, LOS ANGELES CA 90060-            •   GOVERNMENT NATIONAL
                                                             4            0938                                        MORTGAGE ASSOCIATION, 451
                                                                     •    CLARK COUNTY ASSESSOR, 500                  7TH ST SW RM B-133,
                                                             5            S GRAND CENTRAL PKWY # 2,                   WASHINGTON DC 20410-0001
                                                                          LAS VEGAS NV 89155-4502                 •   GREEN TREE SERVICING LLC -
                                                             6                                                        DITECH FIN, PO BOX 6176,
                                                                     •    COPPER RIDGE C/O COLONIAL
                                                             7            MGMT, PO BOX 63275, PHOENIX                 RAPID CITY SD 57709-6176
                                                                          AZ 85082-3275                           •   GREEN VALLEY RANCH, HOA
                                                             8       •    CREEKSIDE HOA C/O FIRST                     CO TERRA WEST, PO BOX 94617,
                                                             9            RESIDENTIAL, PO BOX 54089,                  LAS VEGAS NV 89193-4617
                                                                          LOS ANGELES CA 90054-0089               •   GREENTREE SERVICING LLC,
                                                            10       •    DAVID PIERCE, 9811 W                        PO BOX 6176, RAPID CITY SD
LAW OFFICES OF AMBERLEA DAVIS




                                                                          CHARLESTON BLVD STE 2-279,                  57709-6176
                                                            11            LAS VEGAS NV 89117-7528                 •   INTERNAL REVENUE SERVICE,
                                Telephone: 702.518-4377
                                Las Vegas, Nevada 89101




                                                                          EFREN SOTELO, 1401 SMOKEY                   CENTRALIZED INSOLVENCY
                                 416 S. 6th St., Ste. 300




                                                            12       •
                                                                          GLEN CIR, LAS VEGAS NV                      OPERATION, PO BOX 7346,
                                                            13            89110-1313                                  PHILADELPHIA PA 19101-7346
                                                                     •    ELDORADO FIRST C/O TERRA                •   IRS, INSOLVENCY
                                                            14
                                                                          WEST PROPERTY, PO BOX                       DEPARTMENT, CINCINNATI OH
                                                            15            80900, LAS VEGAS NV 89180-                  45999-0023
                                                                          0900                                    •   JP MORGAN CHASE BANK, PO
                                                            16       •    ELISA CHADBOURNE, 5840                      BOX 183166, COLUMBUS OH
                                                            17            TUSCAN HILL CT, LAS VEGAS                   43218-3166
                                                                          NV 89141-3895                           •   LUCY INNUSO, 7413
                                                            18       •    FEDERAL HOME LOAN                           LATTIMORE DR, LAS VEGAS
                                                                          MORTGAGE CORP, 8200 JONES                   NV 89128-3214
                                                            19
                                                                          BRANCH DR, MCLEAN VA                    •   MTC FINANCIAL INC DBA
                                                            20            22102-3107                                  TRUSTEE CORP, 3571 RED ROCK
                                                                     •    FEDERAL NATIONAL                            ST STE B, LAS VEGAS NV 89103-
                                                            21            MORGATE ASSOCIATION, 3900                   1256
                                                                          WISCONSIN AVE NW,                       •   NATIONAL DEFAULT
                                                            22
                                                                          WASHINGTON DC 20016-2806                    SERVICING CORP, 7720 N 16TH
                                                            23       •    FEDERAL NATIONAL                            ST STE 300, PHOENIX AZ 85020-
                                                                          MORTGAGE ASSOCIATION, PO                    7404
                                                            24            BOX 10002, HAGERSTOWN MD                •   NETTIE JOHNSTON, 2290
                                                            25            21747-0002                                  SURREY MEADOWS AVE,
                                                                     •    FIFTH THIRD BANK MTG LOAN                   HENDERSON NV 89052-2335
                                                            26            SCV, MD 1MOC FP, 5050                   •   NORTHWEST TRUSTEE
                                                                          KINGSLEY DR, CINCINNATI OH                  SERVICES, INC, 2121 ALTON
                                                            27            45227-1115                                  PKWY STE 110, IRVINE CA
                                                            28                                                        92606-4958


                                                                 Motion to Accept Lease                                                  FEATR
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                                                             1       •    OCWEN LOAN SERVICING LLC,               •   SUMMERLIN NORTH
                                                                          PO BOX 24736, WEST PALM                     COMMUNITY ASSOC, 2120
                                                             2            BEACH FL 33416-4736                         SNOW TRL, LAS VEGAS NV
                                                                     •    PEBBLE CREEK HOA, 8595 S                    89134-6709
                                                             3            EASTERN AVE, LAS VEGAS NV               •   TD SERVICE COMPANY, 4000 W
                                                             4            89123-2823                                  METROPOLITAN DR STE 400,
                                                                     •    SANDRA SCHAFER, 3383                        ORANGE CA 92868-3503
                                                             5            CLOVERDALE CT, LAS VEGAS                •   U.S. TRUSTEE - LV - 11, 300 LAS
                                                                          NV 89117-3951                               VEGAS BLVD S STE 4300, LAS
                                                             6                                                        VEGAS NV 89101-5803
                                                                     •    SCHULTE PROPERTIES, LLC,
                                                             7            9811 W CHARLESTON BLVD STE              •   UNITED STATES BANKRUPTCY
                                                                          2-351, LAS VEGAS NV 89117-                  COURT, 300 LAS VEGAS BLVD
                                                             8            7528                                        S, LAS VEGAS NV 89101-5833
                                                             9       •    SEASIDE TRUSTEE INC, PO BOX             •   WELLS FARGO HOME
                                                                          752377, LAS VEGAS NV 89136-                 MORTGAGE, PO BOX 7198,
                                                            10            2377                                        PASADENA CA 91109-7198
LAW OFFICES OF AMBERLEA DAVIS




                                                                     •    SECRETARY OF STATE, 101 N               •   WEST SAHARA COMMUNITY
                                                            11            CARSON ST STE 3, CARSON                     HOA C/P FIRST SERV, PO BOX
                                Telephone: 702.518-4377
                                Las Vegas, Nevada 89101




                                                                          CITY NV 89701-3714                          54089, LOS ANGELES CA 90054-
                                 416 S. 6th St., Ste. 300




                                                            12
                                                                     •    SELENE FINANCE LP, PO BOX                   0089
                                                            13            421517, HOUSTON TX 77242-1517           •   SABLES, LLC, 3753 HOWARD
                                                                     •    SETERUS, INC., PO BOX 1077,                 HUGHES PKWY STE 200, LAS
                                                            14
                                                                          HARTFORD CT 06143-1077                      VEGAS NV 89169-0952
                                                            15       •    SHELLPOINT MORTGAGE                     •   CINDY LEE STOCK, SABLES
                                                                          SERVICING, PO BOX 740039,                   LLC, 608 S 8TH ST, LAS VEGAS
                                                            16            CINCINNATI OH 45274-0039                    NV 89101-7005
                                                            17       •    SILVERADO RNCH LMA C/O                  •   IMAGE FINANCE, LLC, 4751
                                                                          FIRST SERVICE RES, PO BOX                   WILSHIRE BLVD STE 203, LOS
                                                            18            54089, LOS ANGELES CA 90054-                ANGELES CA 90010-3860
                                                                          0089
                                                            19
                                                            20   Dated: 26 July 2017

                                                            21
                                                            22
                                                                                                              ___________________
                                                            23                                                AMBERLEA DAVIS
                                                                                                              Proposed Counsel for Debtor
                                                            24
                                                                                                              NV Bar #11551
                                                            25
                                                            26
                                                            27
                                                            28


                                                                 Motion to Accept Lease                                                     FEATR
